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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


LAWRENCE D. DEMPSTER,                              CASE NO. 2:10-cv-0085
                                                   CRIM. NO. 2:08-cr-0043(1)
       Petitioner,

v.
                                                   JUDGE WATSON
UNITED STATES OF AMERICA,

       Respondent.

                         REPORT AND RECOMMENDATION

       On January 20, 2010, petitioner, Lawrence D. Dempster, filed a motion to correct or

vacate sentence pursuant to 28 U.S.C. §2255. The case is before the Court on the petition,

the United States’ response, petitioner’s traverse, and the exhibits of the parties, as well as

the file in the underlying criminal case. For the following reasons, it will be recommended

that petitioner’s motion to vacate be DENIED.

                        I. FACTS AND PROCEDURAL HISTORY

       Petitioner was indicted by the grand jury on March 6, 2008 and was charged with

conspiracy to distribute and to possess to distribute 500 or more grams of cocaine (Count

1), the possession with intent to distribute 500 or more grams of cocaine (Count 2), and

possession of marijuana (Count 4). Pursuant to a plea agreement, he pleaded guilty to

Count 1. On January 16, 2009, he was sentenced to 84 months in prison, to be followed by

four years of supervised release. Judgment was entered on January 22, 2009. No appeal

was taken from the judgment of conviction.

       According to the statement of facts which was read into the record at the change of
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plea hearing held on August 25, 2008, law enforcement officials had been conducting

surveillance on petitioner’s co-defendant, Anthony Ward, prior to November 9, 2006, based

on suspicions that he was involved in drug trafficking. On that day, Mr. Ward was seen

driving in tandem with another vehicle, which, as it turned out, was being driven by

petitioner. The two stopped at a gas station and petitioner opened the trunk of his car,

displaying two large black trash bags. They left that location and a traffic stop was made.

A drug-sniffing dog alerted on petitioner’s car and it was searched. Half a kilogram of

cocaine was found in the trunk. Petitioner’s fingerprints were on all of the cocaine

packaging. On that basis, he was charged with the cocaine conspiracy count to which he

pleaded guilty. See Transcript of August 25, 2008 proceedings, Docket #75.

       In his motion to vacate, petitioner contends, first, that he was not responsible for the

amount of cocaine charged in Count 1. He asserts that the Delaware County Sheriff’s

Department calculated the weight of the cocaine as 476 grams, and not the 523.1 grams

referred to in the statement of facts. Second, he claims that he did not receive the effective

assistance of counsel because counsel did not make an issue of the proper weight of the

cocaine. He also suggest that counsel pressured him into pleading guilty by telling him

that he might be found to be a career criminal if he did not enter a guilty plea.

       Petitioner was represented at all times by attorney Thomas Charlesworth. On

March 22, 2010, petitioner filed a waiver of attorney-client privilege with respect to Mr.

Charlesworth. The United States, as part of its response, submitted an affidavit from Mr.

Charlesworth. Its content is summarized as follows.


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       The issue concerning the weight of the cocaine came up early in the case because the

lesser weight of 476 grams appeared in a prior charging document filed in state court.

Eventually, Mr. Charlesworth received the laboratory reports which were done subsequent

to the initial weighing of the cocaine by Delaware County personnel.               The report

concerning the cocaine seized from petitioner’s vehicle showed a weight of 523.1 grams.

Mr. Charlesworth concluded that the discrepancy was likely the result of “a less than exact

measuring” when the cocaine was first seized. The other alternative would have been that

law enforcement officials added some cocaine to the amount seized from petitioner prior

to the laboratory testing, a theory which Mr. Charlesworth believed would be difficult or

impossible to prove.       The pertinent laboratory report, which is attached to Mr.

Charlesworth’s affidavit, shows that the four packages of cocaine which were seized from

petitioner’s car were weighed individually. The four packages weighed 123.4 grams, 123.7

grams, 156.6 grams, and 119.4 grams, for a total weight of 523.1 grams.

                                      II. CLAIM ONE

       Petitioner’s first claim is that the evidence does not support the charge to which he

pleaded guilty because only 476 grams of cocaine was seized from his vehicle. Respondent

characterizes petitioner’s first claim as raising the issue of whether, in violation of the rule

set out in Brady v. Maryland, 373 U.S. 83, 87 (1963), the prosecution withheld evidence

favorable to the defendant, and argues that the claim is factually unsupported. In

particular, respondent contends that there was no evidence about any lesser weight of

cocaine which was withheld, and that the documents which showed a lesser weight were


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all matters of public record and were disclosed to petitioner and his counsel prior to or at

the time of the guilty plea.

       The legal basis of petitioner’s first claim is not exactly clear. At one point, he

appears to argue that the indictment was defective because it charged petitioner with

conspiring to possess more cocaine than he was charged with in state court. At another

point, he appears to argue that the prosecutor violated a duty owed to the Court to bring

to the Court’s attention mitigating evidence. Additionally, citing to Grisby v. Blodgett, 130

F.3d 365 (9th Cir. 1997), he argues that the government’s suppression of exculpatory

evidence violated the Due Process clause. Finally, in his traverse, he characterizes his claim

as raising “the misconduct of the government in charging Dempster with a drug quantity

that so grossly over-exposes Dempster to the crime he committed,” Doc. #84, at 2, and he

argues that he was misled into believing that he was avoiding a potential doubling of his

sentence, pursuant to 21 U.S.C. §851, based on a prior conviction, whereas that provision

only doubles mandatory minimum sentences, and being found guilty of possession of less

than 500 grams of cocaine does not carry a mandatory minimum sentence.

       The primary problem with petitioner’s first claim is that he pleaded guilty. Claims

about the deprivation of constitutional rights that occur before the entry of a guilty plea are

foreclosed by that plea. See United States v. Broce, 488 U.S. 563, 569 (1989); Tollett v.

Henderson, 411 U.S. 258, 267 (1973). When a criminal defendant enters a voluntary guilty

plea, he waives all non-jurisdictional defects in the proceedings. United States v. Ormsby,

252 F.3d 844, 848 (6th Cir.2001); United States v. Pickett, 941 F.2d 411, 416 (6th Cir.1991);


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Austin v. Perini,, 434 F.2d 752 (6th Cir.1970). As the Supreme Court observed in Tollett:

              A guilty plea represents a break in the chain of events which has
       preceded it in the criminal process. When a criminal defendant has solemnly
       admitted in open court that he is in fact guilty of the offense with which he
       is charged, he may not thereafter raise independent claims related to the
       deprivation of constitutional rights that occurred prior to the entry of the
       guilty plea.


397 U.S. at 267. See also McMann v. Richardson, 397 U.S. 759, 768-69, 771 (1970). “[A] guilty

plea is an admission of all the elements of a formal criminal charge.” McCarthy v. United

States, 394 U.S. 459, 466 (1969). A guilty plea thus waives the constitutional rights inherent

in a criminal trial, including the right to trial by jury, the protection against

self-incrimination, and the right to confront one's accusers. See Florida v. Nixon, 543 U.S. 175,

187 (2004); see also Boykin v. Alabama, 395 U.S. 238, 243(1969). Although a defendant who

pleads guilty may attack the validity of his guilty plea by showing that under the

circumstances his guilty plea was not intelligently or voluntarily entered, Tollett, 411 U.S.

at 267, petitioner has made no such claim in this case.

       The claims which petitioner raises concerning the sufficiency of the evidence are

specifically waived by a guilty plea. The Court of Appeals has held that “an attack on the

sufficiency of the evidence that might have been produced at trial ... [is] clearly waived by

defendant’s guilty plea.” United States v. Marini, 810 F.2d 80, 84 (6th Cir. 1987). To the extent

that petitioner makes a Brady v. Maryland claim, although the entry of a guilty plea may not

completely foreclose this claim, the Court of Appeals has held that if a Brady violation can

be proved when the defendant has pleaded guilty, the defendant can obtain relief not


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simply by showing that the withheld evidence was exculpatory, but that the petitioner’s

knowledge of the withheld evidence “would have been controlling in the decision whether

to plead.” Campbell v. Marshall, 769 F.2d 314, 324 (6th Cir. 1985).

       This standard cannot be met here. The record is undisputed that petitioner and his

counsel did know of the discrepancy in the weight of the cocaine prior to the entry of

petitioner’s guilty plea, so no evidence of any kind relating to the weight of the cocaine was

withheld from petitioner by the prosecutor. Moreover, any non-jurisdictional challenges

to the sufficiency of the indictment - a claim which petitioner also may be raising - are

waived by the entry of a guilty plea. See, e.g., Flowers v. United States, 208 F.3d 213, *5 (6th

Cir. January 24, 2000) (unpublished), holding that, under Tollett v. Henderson, supra, the

“failure to challenge the indictment prior to pleading guilty is fatal to ... §2255 claims.”

       Finally, in his traverse, as noted above, petitioner claims that the government grossly

overstated the amount of cocaine seized from his trunk and that this misconduct should,

on some theory, void his guilty plea. He supports this claim with the assertion that he

knew exactly how much cocaine was placed in his trunk by his supplier and that “it was

not 523.1 grams.” Doc. #84, at 5. Again, the problem with this argument, apart from the

fact that it was likely waived by the guilty plea, is that the government’s position as to the

weight of the cocaine was not pulled from thin air, but supported by laboratory reports

which fully supported the quantity alleged. The government can hardly be said to have

overreached when the most reliable weighing of the cocaine precisely supported its

position. Petitioner’s position, on the other hand, is supported only by is own alleged


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knowledge about the weight of the cocaine, and his traverse is silent on how he came to

possess that knowledge. Even if an honest difference of opinion existed, however, that

would not be adequate support for petitioner’s claim about prosecutorial over-reaching.

In short, his various theories of relief all depend on facts that are not present on this record.

Thus, petitioner is not entitled to any relief on his first claim.

                                      III. CLAIM TWO

       In his second claim, petitioner asserts that his appointed counsel, Thomas

Charlesworth, failed to provide him with the effective assistance of counsel guaranteed by

the Sixth Amendment because he did not adequately pursue the issue of the discrepancy

between the state court complaint and the federal indictment concerning the weight of the

cocaine. Respondent asserts that this claim, too, lacks a factual basis because Mr.

Charlesworth did pursue the issue and because the discrepancy has been adequately

explained. The Court agrees that this second claim is also without merit.

       The right to counsel guaranteed by the Sixth Amendment is the right to the effective

assistance of counsel. McMann v. Richardson, 397 U.S. 759, 771 n. 14 (1970). The standard for

demonstrating a claim of ineffective assistance of counsel is composed of two parts:

              First, the defendant must show that counsel's performance was
              deficient. This requires showing that counsel made errors so
              serious that counsel was not functioning as the “counsel”
              guaranteed the defendant by the Sixth Amendment. Second,
              the defendant must show that deficient performance
              prejudiced the defense. This requires showing that counsel's
              errors were so serious as to deprive the defendant of a fair trial,
              a trial whose result is reliable.



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Strickland v. Washington, 466 U.S. 668, 687 (1984). Scrutiny of defense counsel's performance

must be “highly deferential.” Id. at 689.

       With respect to the first prong of the Strickland test, “[b]ecause of the difficulties

inherent in making the evaluation, a court must indulge a strong presumption that

counsel's conduct falls within the wide range of reasonable professional assistance.” Id . To

establish the second prong of the Strickland test, prejudice, a Petitioner must demonstrate

that there is a reasonable probability that, but for counsel's errors, the result of the

proceedings would have been different. Id. at 694. “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.” Id. Because petitioner must

satisfy both prongs of the Strickland test to demonstrate ineffective assistance of counsel,

should the court determine that petitioner has failed to satisfy one prong, it need not

consider the other. Id. at 697.

       Here, it was certainly not unreasonable for Mr. Charlesworth, in light of all of the

evidence, not to challenge the weight of the cocaine attributed to petitioner. As noted

above, the discrepancy in weights has been adequately explained. The failure to make such

a challenge also did not prejudice petitioner, because there is little or no likelihood that the

challenge would have been successful.

       As the Court reads the petition, the single statement made about Mr. Charlesworth’s

having been ineffective because he recommended a plea based on the possibility that, if

petitioner were convicted at trial, he would be found to be a career criminal, is not really

an independent claim. As petitioner states in his supporting memorandum, Doc. #72,


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Attachment 1, at 7, “This entire matter revolves around the weight of the drugs found in

Dempster’s trunk on November 9, 2006.” Petitioner has argued only that the weight of the

drugs should have been contested in connection with the guilty plea proceedings, and not

that, had the issue ultimately been resolved against him (as it clearly would have been), he

still would have pleaded not guilty. Thus, there is no basis for providing petitioner with

any relief on his ineffective assistance of counsel claim.

                         IV. RECOMMENDED DISPOSITION

       For all of the foregoing reasons, it is recommended that the instant petition be

DENIED.

                            V. PROCEDURE ON OBJECTIONS

       If any party objects to this Report and Recommendation, that party may, within

fourteen (14) days of the date of this report, file and serve on all parties written objections

to those specific proposed findings or recommendations to which objection is made,

together with supporting authority for the objection(s). A judge of this Court shall make

a de novo determination of those portions of the report or specified proposed findings or

recommendations to which objection is made. Upon proper objections, a judge of this Court

may accept, reject, or modify, in whole or in part, the findings or recommendations made

herein, may receive further evidence or may recommit this matter to the magistrate judge

with instructions. 28 U.S.C. §636(b)(1).

       The parties are specifically advised that failure to object to the Report and

Recommendation will result in a waiver of the right to have the district judge review the


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Report and Recommendation de novo, and also operates as a waiver of the right to appeal the

decision of the District Court adopting the Report and Recommendation. See Thomas v. Arn,

474 U.S. 140 (1985);United States v. Walters, 638 F.2d 947 (6th Cir.1981).

       The parties are further advised that, if they intend to file an appeal of any adverse

decision, they may submit arguments in any objections filed, regarding whether a

certificate of appealability should issue.




                                                         /s/ Terence P. Kemp
                                                         United States Magistrate Judge




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